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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                    CASE NO. 11-cr-20704

                      Plaintiff,             HONORABLE SEAN F. COX
v.

D-2    RAHIM BERRY,

                  Defendant.
_____________________________/

      ORDER REGARDING COMPETENCY AND CRIMINAL RESPONSIBILITY
                AND DETERMINING EXCLUDABLE DELAY

       On December 6, 2011, defendant Rahim Berry asked this Court to order his pretrial

psychiatric or psychological evaluation, pursuant to 18 U.S.C. §§ 4241 through 4247 and Rule

12.2(c)(1)(A), Fed. R. Crim. P., to determine whether he might be presently suffering from a

mental disease or defect rendering him mentally incompetent to stand trial, or unable to

appreciate the wrongful nature of the charged conduct. Defendant Berry also asserted that he

might rely on an insanity defense, should this matter proceed to trial. Without objection from the

government, on December 12, 2011, the Court granted the defendant’s motion, and ordered a

custodial evaluation of the defendant.

       Defendant Berry was evaluated for competency and for criminal responsibility at the

Federal Bureau of Prisons Metropolitan Corrections Center in New York City, New York. On

February 9, 2012, the written reports of Forensic Psychologist William J. Ryan, Ph.D., which

had been reviewed by Chief Psychologist Elissa R. Miller, Psy.D., were submitted to the Court

and subsequently shared with counsel for the parties.
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        On March 19, 2012, defendant Berry and counsel for both parties appeared at a hearing

on these issues. The government offered the Competency to Stand Trial Evaluation as Exhibit 1,

and the Criminal Responsibility Evaluation as Exhibit 2; the defense did not object, and the

Court received the reports into evidence. No other exhibits were offered, nor were any witnesses

called to testify.

        Having considered the positions of the parties and the professional evaluations that were

offered and received, THIS COURT FINDS:

                First, defendant Rahim Berry is competent to stand trial; and

                Second, defendant Rahim Berry is criminally responsible.

        FURTHER, THIS COURT FINDS that the time between the defendant’s motion on

December 6, 2011, and this date, shall be deemed excludable delay under the Speedy Trial Act

pursuant to 18 U.S.C. §§ 3161(h)(1)(A), (h)(1)(F), (h)(1)(J).


Dated: March 20, 2012                           S/ Sean F. Cox
                                                Sean F. Cox
                                                United States District Court Judge




                                        PROOF OF SERVICE

The undersigned certifies that the foregoing order was served upon counsel of record via the Court’s ECF
System and/or U. S. Mail on March 20, 2012.

                                                        s/Jennifer Hernandez
                                                        Case Manager to
                                                        District Judge Sean F. Cox
